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               UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF TEXAS
                   FORT WORTH DIVISION

  ELEXIA STANLEY,

     Plaintiff, UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF TEXAS
  v.                FORT WORTH DIVISIONNo. 4:24-cv-598-P

  RISE CREDITK, EMP
   EGINALEA     LLC,,

       Defendant.
       Plaintiff,

  v.                              ORDER              No. 4:23-cv-00841-P
      Before the Court is the Parties’ Second Joint Stipulation to Continue
  REGIONS BANK ET AL.,
  Joint Report. ECF No. 15. The Parties jointly stipulate that the
  “deadline  to file the Joint Report . . . is continued to August 23, 2024.”
      Defendants.
  Id. at 2. The Parties’ request to   extend the Court-ordered deadline is
                                   ORDER
  DENIED. Instead, the Parties’ local counsel are ORDERED to conduct
      Before the Court is Plaintiff’s Unopposed Motion for Leave to File
  a Rule 26(f) scheduling conference at 9:00 a.m. on Monday, August
  Second Amended Complaint. ECF No. 18. Having considered the Motion
  12, 2024, in the Court’s jury room on the Fourth Floor of the Eldon B.
  and applicable docket entries, the Court GRANTS the Motion.
  Mahon United States Courthouse, located at 501 W. 10th Street, Fort
      SO ORDERED
  Worth,              on thismust
          Texas. The Parties  18ththen
                                    daysubmit
                                        of September    2023.on or before
                                              a joint report
  5:00 p.m. on Monday, August 12, 2024, consistent with the
  requirements of this Court, as outlined in ECF No. 8.

       SO ORDERED on this 9th day of August 2024.


                        ______________________________________________
                        Mark T. Pittman
                        UNITED STATES DISTRICT JUDGE
